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JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

SOUTHERN DIVISION
MICHAEL BRODEUR, Case No. 8:20-cv-01752 DOC (ADSx)
Plaintiff, ORDER GRANTING JOINT
STIPULATION FOR REMAND
v. [12] [14]

TARGET CORPORATION, a Minnesota] District Judge: David O. Carter
Corporation; TRENTON DOE (last name | Courtroom 9 D

unknown), an individual; CHRISTINE
DOE (last name unknown), an individual;| Magistrate Judge: Autumn D. Spaeth

and DOES 1 to 100, inclusive, Courtroom 6B
Defendants. Complaint Filed: June 16, 2020 Trial:
Not Set

 

 

On October 23, 2020, the Parties to the above-referenced action filed a
stipulation to Remand Removed Action. The Court having reviewed that stipulation
and good cause appearing, orders as follows:

4 The Parties’ stipulation is approved;

/I/

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-l- Case No. 8:20—cv—01752 DOC(ADSx)

 

 

 

ORDER GRANTING JOINT STIPULATION FOR REMAND

 
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2. Central District of California case number 8:20-cv-01752-DOC(ADSx)
MICHAEL BRODEUR v. TARGET CORPORATION et al. is hereby remanded to
Superior Court of California County of Orange. Docket entry 12 is MOOT.

This case is now closed.

IT IS SO ORDERED. .
Ahan O Cypritin

Dated: October 26, 2020

 

HON. DAVID O. CARTER

-2- Case No. 8:20—cv—01752 DOC(ADSx)

 

 

 

ORDER GRANTING JOINT STIPULATION FOR REMAND

 
